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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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     APPLIED MEDICAL RESOURCES                     Case No. 8:23-cv-00268-WLH-DFM
11   CORPORATION,
                                                   ORDER GRANTING JOINT
12                            Plaintiff,           STIPULATION TO AMEND
13               v.                                SCHEDULING ORDER [87]
14   MEDTRONIC, INC.,
15                            Defendant.
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18         On June 14, 2024, the Parties filed a Joint Stipulation to Amend Scheduling Order.

19         The Court, having considered the Stipulation and finding good cause therefor,

20   hereby GRANTS the Stipulation and ORDERS that the Civil Pretrial Schedule and Trial

21   Order (ECF No. 47), as previously amended by the Order Granting Joint Stipulation to

22   Amend Scheduling Order (ECF 61), be further amended as follows:

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                                         #:627



 1         1. Notwithstanding the close of fact discovery on June 14, 2024, and the provisions
 2   of Paragraph A(1)(a) of the Scheduling Order, Defendant Medtronic, Inc. shall have
 3   through June 28, 2024, to raise discovery disputes relating to documents produced by
 4   Applied Medical Resources Corporation on June 13, 2024.
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 6         IT IS SO ORDERED.
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 8     Dated: June 20, 2024
 9                                             HON. WESLEY L. HSU
                                               UNITED STATES DISTRICT JUDGE
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